19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 1 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 2 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 3 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 4 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 5 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 6 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 7 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 8 of 57
19-35303-cgm   Doc 1   Filed 02/28/19    Entered 02/28/19 12:10:12   Main Document
                                        Pg 9 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 10 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 11 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 12 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 13 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 14 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 15 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 16 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 17 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 18 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 19 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 20 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 21 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 22 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 23 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 24 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 25 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 26 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 27 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 28 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 29 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 30 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 31 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 32 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 33 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 34 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 35 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 36 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 37 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 38 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 39 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 40 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 41 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 42 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 43 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 44 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 45 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 46 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 47 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 48 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 49 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 50 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 51 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 52 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 53 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 54 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 55 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 56 of 57
19-35303-cgm   Doc 1   Filed 02/28/19 Entered 02/28/19 12:10:12   Main Document
                                     Pg 57 of 57
